     Case 15-07401-JJG-7A                  Doc 606        Filed 08/01/18          EOD 08/06/18 09:36:01                Pg 1 of 2


                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF Southern Indiana

                                                    Minute Entry/Order
Hearing Information:
                         Debtor:   S&S STEEL SERVICES, INC.
                  Case Number:     15-07401-JJG-7A                  Chapter: 7

          Date / Time / Room:      WEDNESDAY, AUGUST 01, 2018 10:00 AM IP 311

         Bankruptcy Judge:         JEFFREY J. GRAHAM
               Courtroom Clerk:    HEATHER HEISER-DAVIS
                Reporter / ECR:    HEATHER HEISER-DAVIS                                                                          0.00


Matters:
       1) Continued Hearing on Creditor's Application for Payment of Administrative Expenses Pursuant to Sec. 503 for Z&S Sharp
          Real Estate, Inc. in the amount of $55,000.00 with Objections by Trustee and Wells Fargo Bank, and Nahum Enterprises,
          LLC Sas, LLP, Z&S Sharp Real Estate, Inc Response thereto [499,521][559,562]
          R / M #: 0 / 0

       2) Continued Hearing on Creditor's Application for Payment of Administrative Expenses Pursuant to Sec. 503 for Nahum
          Enterprises, LLC in the amount of $54,984.60 with Objections filed by Trustee and Wells Fargo Bank and Sas, LLP 's
          Response in Opposition thereto [500,523][560,563]
          R / M #: 0 / 0

       3) Continued Hearing on Creditor's Application for Payment of Administrative Expenses Pursuant to Sec. 503 for SAS, LLP
          in the amount of $72,510.90 with Objections filed by Trustee and Wells Fargo Bank and Nahum Enterprises, LLC, Sas,
          LLP, Z&S Sharp Real Estate, Inc's Response in Opposition thereto [501,525][561,564]
          R / M #: 0 / 0

       4) Continued Hearing on Trustee's Objection to Claim # 85 for Nahum Enterprises, LLC and Creditor's Response thereto
          [522,539]
          R / M #: 0 / 0

       5) Continued Hearing on Trustee's Objection to Claim # 84 for Z&S Sharp Real Estate, Inc and Creditor's Response thereto
          [520,540]
          R / M #: 0 / 0

       6) Continued Hearing on Trustee's Objection to Claim # 86 for SAS, LLP and Creditor's Response thereto [524,541]
              R / M #:   0/ 0


Appearances:

        Sarah Fowler, Attorney for RANDALL L. WOODRUFF, TRUSTEE

Proceedings:                                                                                                              1.00

        (1-6) Disposition: Hearing held. Parties request matter be reset. Court continues matter
        to 9/12/18 at 10:00 am; (Notice given in court and no further notice will be issued)




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF Southern Indiana

                                     Minute Entry/Order
IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




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